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  AO 91 (Rev. 11/11) Criminal Complaint



                                               UNITED STATES DISTRICT COURT
                                                                                       for the
                                                                             District of &ROXPELD
                        United States of America                                           )
                                    v.                                                     )
                            ISAAC THOMAS                                                   )        Case No.
                                                                                           )
                             DOB: XXXXXX                                                   )
                           CHRISTINA LEGROS                                                )
                           DOB: XXXXXX                                                     )
                                  Defendant(s)


                                                                CRIMINAL COMPLAINT
               I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
   On or about the date(s) of                              January 6, 2021                          in the county of                                           in the
                                 LQWKH'LVWULFWRI             &ROXPELD , the defendant(s) violated:

                 Code Section                                                                           Offense Description
  8 U.S.C. § 1752(a)(1) - Entering or Remaining in an Restricted Building or Grounds. (Isaac Thomas and Christina Legros)
  18 U.S.C. § 1752(a)(2) - Disorderly or disruptive conduct in, a restricted building or grounds (Isaac Thomas and Christina Legros)
  18 U.S.C. § 1752(a)(4) - Engaging in physical violence in a restricted building or grounds. (Isaac Thomas)
  18 U.S.C. § 1752(b)(1)(A) - Entering and remaining in a restricted building or grounds with a deadly or dangerous weapon. (Isaac Thomas)
  40 U.S.C. § 5104(e)(2)(D) - Disorderly conduct in a capitol building. (Isaac Thomas and Christina Legros)
  40 U.S.C. § 5104(e)(2)(F)- Act of physical violence in the Capitol Grounds or Buildings.(Isaac Thomas)
  40 U.S.C. § 5104(e)(2)(G)-parade, demonstrate, or picket in any of the Capitol Buildings.(Isaac Thomas and Christina Legros)
  18 U.S.C. §§ 111(a)(1) and (b) - Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon. (Isaac Thomas)
  18 U.S.C. § 1512(c)(2)-Obstruction of an official proceeding.(Isaac Thomas )
  18 U.S.C. 231(a)(3)-Civil disorder (Isaac Thomas)




      This criminal complaint is based on these facts:
6HHDWWDFKHGVWDWHPHQWRIIDFWV
          9
          u   Continued on the attached sheet.
                                                                                                                               Complainant’s signature

                                                                                                                  Owen Nearhoof , Special Agent
                                                                                                                                Printed name and title
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  Date:                01/24/2023
                                                                                                                                                          -05'00'
                                                                                                                                   Judge’s signature

  City and state:                              :DVKLQJWRQ'&                                               Zia M. Faruqui, U.S. Magistrate Judge
                                                                                                                                Printed name and title
